  Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 1 of 27




                     Civil Action No. 4:17-CV-03549


            IN THE UNITED STATES DISTRICT COURT
           FOR THE SOURTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


                        ELIZABETH THOMAS,
                                   Debtor - Appellant,

                                    v.

      JP MORGAN CHASE BANK NATIONAL ASSOCIATION,
MCCARTHY & HOLTHUS, LLP, BARRETT, DAFFIN, FRAPPIER, TURNER
         & ENGEL, LLP, and CODILIS & STAWIARSKI, P.C.;
                                  Appellees.


           On Appeal from the United States Bankruptcy Court
           For the Southern District of Texas, Houston Division;
                      Bankruptcy Case No. 10-40785

        APPELLEE CODILIS & STAWIARSKI P.C.’S BRIEF


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    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 2 of 27




                 CERTIFICATE OF INTERESTED PARTIES

      The undersigned counsel of record certifies that the following listed persons

and entities have an interest in the outcome of this case.

      1.     Elizabeth Thomas - Appellant;

      2.     JPMorgan Chase Bank, National Association - Appellee, is a wholly-
             owned subsidiary of JPMorgan Chase & Co, which is a publically
             traded company;

      3.     McCarthy & Holthus, LLP- Appellee, a limited liability partnership;

      4.     Barrett, Daffin, Frappier, Turner & Engel LLP- Appellee, a limited
             liability partnership;

      5.     Codilis & Stawiarski P.C. - Appellee, a professional corporation.



                                               /s/ Mark D. Hopkins
                                               Mark D. Hopkins

                                               COUNSEL FOR APPELLEE
                                               CODILIS & STAWIARSKI P.C.




                                          ii
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 3 of 27




               RECOMMENDATION ON ORAL ARGUMENT

      Appellee Codilis & Stawiarski, P.C. suggests that the issues presented can

be determined upon the record and that oral argument would not benefit the court.

The parties’ positions are clear and the record uncomplicated. If, however, the

Court determines oral argument would be helpful, Appellee requests that it be

permitted to participate equally in oral argument with Appellant.




                                         iii
     Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 4 of 27




                                      TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PARTIES ........................................................ ii

RECOMMENDATION ON ORAL ARGUMENT ................................................. iii

TABLE OF CONTENTS ......................................................................................... iv

INDEX OF AUTHORITIES..................................................................................... v

STATEMENT OF JURISDICTION......................................................................... 1

STATEMENT OF THE ISSUES ............................................................................. 2

STATEMENT OF THE CASE ................................................................................. 3

STANDARD OF REVIEW ...................................................................................... 7

SUMMARY OF THE ARGUMENT ....................................................................... 7

ARGUMENTS AND AUTHORITIES..................................................................... 9

ISSUE NO. 1: DID CODILIS & STAWIARSKI, P.C. HAVE STANDING TO
APPEAR BEFORE THE BANKRUPTCY COURT TO CONTEST THE
MOTION FOR CONTEMPT FILED AGAINST IT? .............................................. 9

ISSUE NO. 2: DID THE BANKRUPTCY COURT ABUSE ITS DISCRETION
IN DENYING APPELLANT'S MOTION FOR CONTEMPT, GIVEN THAT THE
ACTIONS COMPLAINED OF BY APPELLANT ARE PERMISSABLE UNDER
BLACK LETTER LAW? ....................................................................................... 12

ISSUE NO. 3: DID THE BANKRUPTCY COURT ABUSE ITS DISCRETION
IN DENYING APPELLANT'S MOTION TO REOPEN GIVEN THAT THE
BASIS OF APPELLANT'S MOTION TO REOPEN WAS DETERMINED TO BE
WITHOUT MERIT? ............................................................................................... 17

CONCLUSION AND PRAYER ............................................................................ 18




                                                       iv
     Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 5 of 27




                                   INDEX OF AUTHORITIES

CASES                                                                                          PAGE(S)

American Airlines, Inc. v. Allied Pilots Ass’n,
 228 F.3d 574 (5th Cir. 2000) ................................................................................ 13

Baron & Budd, P.C. v. Unsecured Asbestos Claimants Comm.,
 321 B.R. 147, 158 (D.N.J. 2005) ......................................................................... 11

Bibolotti v. American Home Mortgage Servicing, Inc.,
  2013 WL 2147949 (E.D. Tex. 2013) ............................................................ 14, 15

Crowe v. Smith,
 151 F.3d 217, 226 (5th Cir.1998) ......................................................................... 13

Horizon Aviation of Virginia, Inc. v. Alexander (In re Alexander),
 296 B.R. 380, 382 (E.D.Va.2003) ....................................................................... 17

In re Amatex Corp.,
  755 F.2d 1034, 1042 (3d Cir. 1985) .................................................................... 11

In re Bell Family Tr.,
  575 F. App'x 229, 232 (5th Cir. 2014) .................................................................. 7

In re Berman-Smith,
  737 F.3d 997, 1003 (5th Cir. 2013) ................................................................. 1, 17

In re Black,
  2015 WL 363495, at *7 (S.D. Tex. Jan. 27, 2015) ................................................ 7

In re BNP Petroleum Corp.,
  642 F. App'x 429 (5th Cir. 2016) .......................................................................... 7

In re Canellas,
  2010 WL 571808, *4 (Bankr. M.D. Fla. 2010) ................................................... 16

In re Cook,
  457 F.3d 561, 567 (6th Cir. 2006) ........................................................................ 16


                                                       v
      Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 6 of 27




In re Crescent Res., L.L.C.,
  496 F. App'x 421, 424 (5th Cir. 2012) .................................................................. 1

In re Faden,
  96 F.3d 792, 796 (5th Cir.1996) ............................................................................ 7

In re Locklair,
  2006 WL 1491440 (Bankr. M.D.N.C. 2006) ...................................................... 18

In re Madaj,
  149 F.3d 468 (6th Cir. 1998) .................................................................................. 7

In re Mullin,
  433 B.R. 1, 16-17 (Bankr. S.D. Tex. 2010) ......................................................... 16

In re Oliver,
  333 U.S. 257, 275, (1948) ................................................................................... 10

In re Parson,
  2007 WL 3306678 (Bankr.E.D.Va.2007) at *7................................................... 17

In re Reuss,
  2011 WL 1522333, at *2 (Bankr. W.D. Mich. April 12, 2011) .......................... 15

In re Schinabeck,
  2014 WL 5325781 (Bankr. E.D. Tex. 2014) ....................................................... 16

In re Staffer,
  306 F.3d 967 (9th Cir. 2002) .................................................................................. 7

In re Torrez,
  132 B.R. 924, 934 (Bankr.E.D.Ca.1991)............................................................. 11

Johnson v. Home State Bank,
  501 U.S. 78, 84 (1991) ........................................................................................ 14

Kapila v. Atlantic Mortgage & Investment Corp.,
 184 F.3d 1335, 1337 (11th Cir. 1999) .................................................................. 16



                                                        vi
      Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 7 of 27




Martin v. Trinity Indus., Inc.,
 959 F.2d 45, 47 (5th Cir. 1992) ............................................................................ 13

Palmer v. Wells Fargo, N.A.,
 2011 WL 5838365, at *2–3 (E.D. Calif. Nov. 21, 2011) .................................... 15

Reid v. Richardson,
  304 F.2d 351, 355 (4th Cir. 1962) ....................................................................... 17

Taylor v. Charter Medical Corp.,
  162 F.3d 827 (5th Cir. 1998) ............................................................................... 12

Test Masters Educational Services, Inc. v. Robin Singh Educational Services, Inc.,
  799 F.3d 437 (5th Cir. 2015) ................................................................................ 10

TMT Procurement Corp. v. Vantage Drilling Co. (In re TMT Procurement Corp.),
 764 F.3d 512, 519 (5th Cir.2014) .......................................................................... 7

Waste Management of Washington, Inc. v. Kattler,
 776 F.3d 336 (5th Cir. 2015) ................................................................................ 10


STATUTES

11 U.S.C. §350(b) ................................................................................................... 17
11 U.S.C. §524(a)(2) ............................................................................................... 14
11 U.S.C. §524(j) ................................................................................ 5, 8, 14, 15, 16
28 U.S.C. §158 .......................................................................................................... 1


RULES

Fed. R. Evid. 201(b)................................................................................................ 12
Fed. R. Evid. 201(c) ................................................................................................ 12




                                                           vii
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 8 of 27




                       STATEMENT OF JURISDICTION

      Appellant appeals three separate orders: (1) the denial of her Motion to

Reopen, (2) the denial of her Motion for Contempt, and (3) the denial of her

Motion to Alter or Amend. This Court only has jurisdiction over the third order,

that being the denial of Appellant’s Motion to Alter or Amend.

      Untimely Appeal of Orders 1 and 2. Appellant admits that the bankruptcy

court’s orders denying her motions to reopen and for contempt were entered on

August 22, 2017. Appellant’s Brief, [Doc. No. 12, at pp. 1, 5-6]. Bankruptcy

Rules 8002(a) and 8002(b)(2) require filing a notice of appeal or motion to alter or

amend within fourteen days of the date of entry of the challenged order. Appellant

did not file her motion to alter or amend until twenty days later, that date being

September 11, 2017. An untimely motion to alter or extend does not toll the time

for filing a notice of appeal. In re Crescent Res., L.L.C., 496 F. App'x 421, 424 (5th

Cir. 2012). Failure to timely file a notice of appeal deprives the district court of

jurisdiction of the appeal. In re Berman-Smith, 737 F.3d 997, 1003 (5th Cir.

2013).

      Timely Appeal of Order 3. Appellee agrees with Appellant that this Court

has jurisdiction over the appeal of Order 3 pursuant to 28 U.S.C. §158. See, In re

Crescent Resource, L.L.C., 496 Fed. Appx. 421, 424 (5th Cir.)(jurisdiction of

appellate court over appeal of denial of untimely motion to alter or amend).



                                          1
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 9 of 27




                     STATEMENT OF THE ISSUES

ISSUE NO. 1:    DID CODILIS & STAWIARSKI, P.C. HAVE STANDING
                TO APPEAR BEFORE THE BANKRUPTCY COURT TO
                CONTEST THE MOTION FOR CONTEMPT FILED
                AGAINST IT?


ISSUE NO. 2:    DID THE BANKRUPTCY COURT ABUSE ITS
                DISCRETION IN DENYING APPELLANT'S MOTION
                FOR CONTEMPT, GIVEN THAT THE ACTIONS
                COMPLAINED    OF    BY   APPELLANT   ARE
                PERMISSABLE UNDER BLACK LETTER LAW?


ISSUE NO. 3:    DID THE BANKRUPTCY COURT ABUSE ITS
                DISCRETION IN DENYING APPELLANT'S MOTION
                TO REOPEN GIVEN THAT THE BASIS OF
                APPELLANT'S   MOTION   TO   REOPEN  WAS
                DETERMINED TO BE WITHOUT MERIT?




                                     2
      Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 10 of 27




                             STATEMENT OF THE CASE
A.      Course of Proceedings and Disposition in the Court Below.

        Bankruptcy Case. Appellee JPMorgan Chase Bank, National Association

("Chase") holds a deed of trust lien against Appellant’s Property.                    ROA.24. 1

Appellant’s Chapter 7 bankruptcy was initiated on December 3, 2010, and

thereafter deemed a no asset case by the Trustee on January 26, 2011. ROA.55.

The Bankruptcy Court entered a Chapter 7 Discharge Order (ROA.55) and Final

Decree closing the Bankruptcy Case on March 1, 2011. Bankruptcy Case Dkt. No.

40.

        Four Prior Motions to Reopen and Eight Other Lawsuits filed by Appellant.

Not including the present action, Appellant has sought to reopen the Bankruptcy

Case four times to pursue claims associated with her mortgage loan, and/or claims

against the law firms who have assisted Chase with the foreclosure process. Each

of the various efforts to reopen have either been denied by the Bankruptcy Court or

Appellant has withdrawn her request. Bankruptcy Case Dkt. Nos. 48, 50, 54, 59,

61, 88, 90 and 96. Appellant has also filed at least eight separate lawsuits seeking

to have Chase’s deed of trust lien extinguished and/or pursue claims against the


1
  As the Court found in its January 25, 2018 Order, all matters filed in the underlying Bankruptcy
Case can be considered in connection with this appeal. However, not all such matters were
included in the official Record on Appeal at Docket No. 5 ("ROA"). As such, Appellee Codilis
& Stawiarski will refer to the ROA when a matter is included therein, but otherwise where such
matter was not so included will refer to the Docket No. for the document as found in the
Bankruptcy Case.


                                                3
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 11 of 27




law firms that have provided assistance to Chase, including Appellee Codilis &

Stawiarski, P.C.2

       Appellants Fifth (and present) Motion to Reopen. Appellant seeks to reopen

her Bankruptcy Case in order to bring contempt claims against Codilis &

Stawiarski and the other appellees. The basis of the contempt claims hinge on two

issues. First, Appellant seeks to re-litigate whether the assignment of the deed of

trust into Chase (during the automatic stay) was done in violation of the automatic

stay of Section 362 of the Bankruptcy Code. ROA. 9 and 24. The Bankruptcy


2
 In re Elizabeth Thomas, No. 10-40785-H3-7 (Bankr. S.D. Tex. 2010)(discharged bankruptcy
case in which no litigation claims were disclosed);

Thomas v. Mortg. Elec. Registration Sys., Inc., No. 10-cv-4320 (S.D. Tex. 2010)(putative class
action voluntarily dismissed while Rule 12(b) motions to dismiss were pending);

Thomas v. Dolan Media Co., Adversary No. 11-03090 (Bankr. S.D. Tex. 2010) (dismissed for
lack of jurisdiction);

Thomas v. JP Morgan Chase, N.A., 2012 WL 2872164 (E.D. N.Y. 2012), aff’d, 2013 WL
5226415 (2nd Cir. 2013)(determining Appellant lacked standing to bring claims and claims
barred due to judicial estoppel);

Thomas, et al. v. The Professional Law Firm and Corporation of Barrett, Daffin, Frappier,
Turner & Engel, LLP, No. 2013-46276 (333rd Dist. Ct. Harris Cnty, Texas 2013) (dismissed with
prejudice);

Thomas v. The Professional Law Firm and Corporation of Barrett, Daffin, Frappier, Turner &
Engel, LP, et al, 4:13-cv-02481 in the Southern District of Texas – Houston Division) (dismissed
with prejudice);

Elizabeth Thomas and Abdelhalim H. Mohd v. J.P. Morgan Chase, N.A., et al, 4:13-cv-01022
(Southern District of Texas – Houston Division) (dismissed with prejudice).

Albert Perry, III, et al. v. Meritage Home of Texas, LLC, et al.; Cause No. 2014-54729; In the
61st Judicial District Court of Harris County, Texas (claimed against Codilis & Stawiarski
dismissed with prejudice)


                                               4
     Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 12 of 27




Court determined that an assignment of a lien from one creditor to another is not a

violation of the automatic stay. ROA. 861, 3-15. Second, Appellant seeks to re-

litigate whether loan correspondence sent by Codilis & Stawiarski, and the other

law firms, was sent in violation of the discharge order.      The complained of

correspondence of Codilis & Stawiarski was comprised of a notice regarding

foreclosure proceedings and/or correspondence sent to Appellant in response to

Appellant’s request for information regarding her mortgage. The communications

were each within the category of communications permitted to be sent to a debtor,

post-discharge, described by 11 U.S.C. §524(j). The Bankruptcy Court was not

persuaded by Appellant’s argument and denied her requested relief. ROA.863, 19

– 864, 7.

B.     Statement of Facts.

       In October 2007, Appellant purchased a residence located at 8202 Terra

Valley Lane, Tomball, Texas 77375 (the “Property”). She financed the purchase

through a $239,400.00 purchase money loan evidenced by a Note dated October

17, 2007, the Note being secured by a Deed of Trust (the “Deed of Trust”) of the

same date. ROA.737-739; ROA.740 – 755.

       Chase became the beneficiary under the Deed of Trust by way of a pre-

petition assignment (the “Assignment”) executed on November 30, 2010.

ROA.24. On December 3, 2010, Appellant filed the no-asset Chapter 7 bankruptcy



                                        5
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 13 of 27




case underlying this appeal. Bankruptcy Case Dkt. No. 1. On December 10, 2010,

the Harris County Clerk filed for record the pre-petition Assignment under

instrument no. 20100524203. ROA.24.

      During the bankruptcy case, Appellant filed an initial and an amended

Statement of Intent declaring that she intended to retain the Property. Bankruptcy

Case Dkt. Nos. 10 and 35. The bankruptcy trustee filed his no asset report on

January 26, 2011. Bankruptcy Case Dkt. No. 39. Appellant received a Chapter 7

discharge on March 1, 2011. The Bankruptcy Court ordered the case closed the

same day. Bankruptcy Case Dkt. No. 40.

      As mentioned above, Thomas then filed several motions to reopen this

Bankruptcy Case in addition to filing multiple lawsuits against various of the

appellees. In connection with this fifth Motion to Reopen, Thomas takes issue

with (among other things) informational correspondence sent by Codilis &

Stawiarski, the correspondence consisting of requested payoff instructions

(ROA.664), requested reinstatement instructions (ROA.668), and a Notice of

Acceleration and Notice of Posting & Foreclosure (ROA.671). The Bankruptcy

Court denied Appellant’s Motion for Contempt against Codilis & Stawiarski, as

the correspondence sent by the law firm did not violate the discharge order.

ROA.863, 21 864, 4.




                                         6
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 14 of 27




                               STANDARD OF REVIEW

       A bankruptcy court’s order denying a motion to reopen a debtor’s

bankruptcy case is a final and appealable order. In re Staffer, 306 F.3d 967 (9th

Cir. 2002). The decision to grant or deny a motion to reopen is committed to the

bankruptcy court’s sound discretion and is reviewed under an abuse of discretion

standard. In re Bell Family Tr., 575 F. App'x 229, 232 (5th Cir. 2014); In re

Faden, 96 F.3d 792, 796 (5th Cir.1996). Therefore, findings of fact are not set

aside unless clearly erroneous and matters of law are reviewed de novo. See In re

Madaj, 149 F.3d 468 (6th Cir. 1998); TMT Procurement Corp. v. Vantage Drilling

Co. (In re TMT Procurement Corp.), 764 F.3d 512, 519 (5th Cir.2014); In re

Black, 2015 WL 363495, at *7 (S.D. Tex. Jan. 27, 2015), aff'd sub nom; In re BNP

Petroleum Corp., 642 F. App'x 429 (5th Cir. 2016).

                          SUMMARY OF THE ARGUMENT

       Section 350 of the Bankruptcy Code permits a bankruptcy court to reopen a

closed case to administer assets, to accord relief to a debtor, or for other cause.

Appellant seeks the reopening of her Bankruptcy Case for other cause, the cause

being to afford Appellant the ability to prosecute contempt claims against the

appellees. 3 In short, Appellant asserts that Codilis and Stawiarski’s actions in


3
  This brief only addresses the allegations of contempt against the law firm of Codilis &
Stawiarski, leaving the claims against the other appellees (while similar) to be addressed by each
of their respective counsel.


                                                7
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 15 of 27




mailing her correspondence in connection with the foreclosure of Chase’s Deed of

Trust violated the discharge order whereby subjecting Codilis & Stawiarski to

contempt of court.

      Standing to Appear. Appellant first contends that Codilis & Stawiarski is

barred from appearing within the Bankruptcy Case to defend itself and/or

otherwise respond to Appellant’s Motion to Reopen and Motion for Contempt. To

the contrary, due process affords Codilis & Stawiarski the right to appear and

defend itself against Appellant’s contempt claims.         Second, and by virtue of

seeking relief against Codilis and Stawiarski, the law firm has standing to appear

as it is a party in interest to the proceedings.

      Res Judicata. Appellant asserts that her claims against Codilis & Stawiarski

are not barred by the application of res judicata. While res judicata certainly would

be applicable to bar Appellant’s repetitive actions, Codilis & Stawiarski elected to

take the issue of its conduct being in violation of the discharge order head on.

Courts have certainly recognized the propriety of certain post-discharge

communications as might be necessary under applicable state law to allow a

lienholder to enforce its in rem rights.           The correspondence of Codilis &

Stawiarski was sent to Appellant in connection with Chase’s enforcement of its in

rem rights in the Property, and as permitted by 11 U.S.C. § 524(j).




                                            8
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 16 of 27




      Motion to Reopen.         Having found baseless Appellant’s Motion for

Contempt, no reason remained for the Bankruptcy Court to reopen the Bankruptcy

Case. When reopening a case would be futile, the requested relief is routinely

denied as exemplified in this case.

                     ARGUMENTS AND AUTHORITIES


ISSUE NO. 1:       DID CODILIS & STAWIARSKI, P.C. HAVE STANDING
                   TO APPEAR BEFORE THE BANKRUPTCY COURT TO
                   CONTEST THE MOTION FOR CONTEMPT FILED
                   AGAINST IT?

      Appellant spends considerable energy on her misplaced argument that the

law firm of Codilis & Stawiarski was without standing to appear and argue in

opposition to Appellant’s Motion for Contempt and Motion to Reopen her

bankruptcy. See Appellant’s Brief, at 7.       Appellant’s argument is nothing more

than her effort to misdirect this court away from the stark reality that Appellant

failed to carry her burden of proof at the hearing on her Motion for Contempt and

Motion to Reopen. In fact, but for Codilis & Stawiarski appearing at the hearing,

prepared to make legal argument and introduce evidence, the law firm otherwise

stood silent in all respects. The law firm was not tasked with even uttering a word

at the hearing after observing Appellant’s absolute failure to carry her burden of

proof. (ROA. 860-864).




                                           9
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 17 of 27




      It defies all logic why Appellant would even suggest that the law firm did

not have standing to appear in its own defense at the contempt proceeding.

Appellant’s own Motion for Contempt4 and Notice of Hearing5 even command the

law firm to attend the hearing. (ROA. 006). As recognized by the United States

Supreme Court and the Fifth Circuit, due process requires “that one charged with

contempt of court be advised of the charges against him, have a reasonable

opportunity to meet them by way of defense or explanation, have the right to be

represented by counsel, and have a chance to testify and call other witnesses.” In

re Oliver, 333 U.S. 257, 275, (1948); Waste Management of Washington, Inc. v.

Kattler, 776 F.3d 336 (5th Cir. 2015).

      Polar to Appellant’s assertion that Codilis & Stawiarski was without

standing to appear at the contempt proceeding, due process requires the law firm to

have been given a voice at the proceeding. The question of whether due process

was afforded Codilis & Stawiarski at the contempt proceeding is a question of law

which this court reviews de novo. See, Waste Management of Washington, Inc. v.

Kattler, 776 F.3d 336, 339 (5th Cir. 2015); Test Masters Educational Services, Inc.

v. Robin Singh Educational Services, Inc., 799 F.3d 437 (5th Cir. 2015).




4
 “YOU MUST ATTEND THE HEARING.” Motion for Contempt, p. 1. (ROA. 006).
5
 “IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
MUST ATTEND THE HEARING…”. Notice of Hearing, p.1. Bankruptcy Case Dkt No. 115.


                                         10
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 18 of 27




      After giving Appellant free range to introduce evidence and/or argument in

support of her Motion for Contempt, the Bankruptcy Court denied Appellant’s

requested relief.    Thereafter, and without hearing from the law firm, the

Bankruptcy Court properly denied Appellant’s Motion to Reopen (apparently

concluding that without a valid contempt proceeding, no basis existed for the

reopening of the bankruptcy). In short, and without belaboring the point, the

Bankruptcy Court did not commit error in permitting Codilis & Stawiarski the

opportunity to be heard at the contempt action brought against the law firm.

      Adopting the argument of the other appellee law firms, Codilis & Stawiarski

similarly asserts that it had standing to appear within the Motion to Reopen and

Motion for Contempt as it was a “Party-in-interest” to those proceedings. Whether

an entity is a party in interest depends on whether the prospective party in interest

has a sufficient stake in the outcome of the proceeding so as to require

representation. In re Amatex Corp., 755 F.2d 1034, 1042 (3d Cir. 1985); In re

Torrez, 132 B.R. 924, 934 (Bankr.E.D.Ca.1991) (quoting Public Serv. Co., 88 B.R.

at 551). Generally speaking, a “sufficient stake” to be considered a party-in-interest

can be a pecuniary interest that is directly or adversely affected. See Baron &

Budd, P.C. v. Unsecured Asbestos Claimants Comm., 321 B.R. 147, 158 (D.N.J.

2005). Appellant’s efforts at reopening her bankruptcy in order to take action




                                         11
     Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 19 of 27




against Codilis & Stawiarski clearly reflects that Codilis & Stawiarski has a

pecuniary interest in the outcome of Appellant’s efforts.

ISSUE NO. 2:          DID THE BANKRUPTCY COURT ABUSE ITS
                      DISCRETION IN DENYING APPELLANT'S MOTION
                      FOR CONTEMPT, GIVEN THAT THE ACTIONS
                      COMPLAINED    OF    BY   APPELLANT   ARE
                      PERMISSABLE UNDER BLACK LETTER LAW?


       In similar fashion to her strawman argument over standing, Appellant seeks

to   debate     whether     res    judicata    was     a   viable    defense     for    use    by

Codilis & Stawiarski in opposition to Appellant’s Motion for Contempt and

Motion to Reopen. However, Appellee Codilis & Stawiarski did not assert res

judicata as an affirmative defense to the proceedings. 6 Codilis & Stawiarski

determined that the best way to address Appellant’s contention that the law firm

violated the automatic stay was to simply defend itself at the contempt proceeding.

Ultimately, the law firm never even spoke at the contempt proceeding given that

the evidence attached to Appellant’s own motion, combined with the argument of

her counsel, negated Appellant’s right of recovery.



6
  Codilis & Stawiarski certainly could have asserted res judicata given Appellant’s repeated and
abusive litigation tactics in multiple separate legal proceedings she brought against Defendants
(as referenced by the other appellees herein, such case citations being adopted herein by
reference) for which judicial notice is requested by this Court. See Taylor v. Charter Medical
Corp., 162 F.3d 827 (5th Cir. 1998); see also Fed. R. Evid. 201(b) and 201(c). However, Codilis
elected to not give Appellant a platform to debate, without end, the myriad reasons why her other
suits failed; Codilis electing instead to take Appellant head on in addressing the baselessness of
her claims advanced against the law firm.


                                               12
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 20 of 27




      It was Appellant’s burden to establish the elements of contempt at the

hearing.     As provided by the Fifth Circuit, “A movant in a civil contempt

proceeding bears the burden of establishing by clear and convincing evidence: 1)

that a court order was in effect, 2) that the order required certain conduct by the

respondent, and 3) that the respondent failed to comply with the court’s order.”

American Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574 (5th Cir. 2000); relying

on, Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th Cir. 1992). This court is to

review the Bankruptcy Court's denial of Appellant’s Motion for Contempt under an

abuse of discretion standard. Id. at 46; Crowe v. Smith, 151 F.3d 217, 226 (5th

Cir.1998).

      Appellant asserts that Codilis & Stawiarski should be held in contempt for

mailing correspondence to Appellant in connection with Chase’s enforcement of

its deed of trust lien in the Property. The correspondence consisted of requested

payoff instructions (ROA.664), requested reinstatement instructions (ROA.668),

and a Notice of Acceleration and Notice of Posting & Foreclosure (ROA.671).

The payoff and reinstatement instructions specifically stated that the letters were

being provided for informational purposes only and are not an attempt to collect a

debt after discharge. (ROA.666) and (ROA.669).

      As this Court is well aware,

      [A] bankruptcy discharge operates as an injunction against the
      commencement or contribution of an action, the employment of a


                                         13
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 21 of 27




      process, or an act to collect, recover or offset … as a personal liability
      of the debtor any debt discharged under section 727.

11 U.S.C. §524(a)(2). However, the bankruptcy discharge (ROA.653) does not

eliminate the existence of Appellant’s debt.

      Fundamentally, a discharge merely releases the debtor from personal
      liability on the discharge debt; when a creditor holds a mortgage lien
      or other interest to secure the debt, the creditor's rights in collateral,
      such as foreclosure rights, survive or pass through bankruptcy…
      Johnson v. Home State Bank, 501 U.S. 78, 84, 111 S.Ct. 2150, 115
      L.Ed.2d 66 (1991) (liens, unless avoided, pass through bankruptcy
      unaffected). Thus, upon discharge, “it is only a debtor's personal
      obligation to pay the debt that is effectively extinguished; the debt
      itself remains.

Bibolotti v. American Home Mortgage Servicing, Inc., 2013 WL 2147949 (E.D.

Tex. 2013).

      Additionally, section 524(j) of the bankruptcy code provides an exception to

the discharge injunction that allows a creditor to still contact a debtor after

discharge. Section 524(j) provides that a creditor may contact a debtor if it is,

      An act by a creditor that is the holder of a secured claim, if:

      (1) Such creditor retains a security interest in real property that is the
          principal residence of debtor;
      (2) Such act is in the ordinary course of business between the creditor
          and the debtor; and
      (3) Such act is limited to seeking or obtaining periodic payments
          associated with a valid security interest in lieu of pursuit of in rem
          relief to enforce the lien.

11 U.S.C. § 524(j).




                                          14
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 22 of 27




      As addressed by the United States District Court for the Eastern District of

Texas the above, “exception would allow a secured creditor to remain in contact

with a debtor who was living in the real property as his principal residence, send

communications in the regular course of business, and explore the possibility of the

debtor retaining his principal residence – i.e., collecting payments in lieu of

foreclosure.” Bibolotti v. American Home Mortgage Servicing, Inc., 2013 WL

2147949 (E.D. Tex. 2013).

      In analyzing the exact same type of documents sent to the debtor in Bibolotti

that were sent by Codilis & Stawiarski in this case the Bibolotti court held that the

letters fit within the exception of 11 U.S.C. § 524(j) as they merely served as,

      [N]otice to Plaintiff of the amount of default, and the opportunity to
      cure prior to acceleration, should he desire to do so. Otherwise, the
      letter informs Plaintiff that Defendants intend to foreclose on the
      Property. This letter is permissible under the discharge injunction,
      and appears to be precisely the type of communication the
      discharge injunction allows secured creditors to use in order to
      enforce their rights against a property in rem, rather than
      personally against a debtor. See, e.g., In re Reuss, No. DT–07–
      05279, 2011 WL 1522333, at *2 (Bankr. W.D. Mich. April 12, 2011);
      Palmer v. Wells Fargo, N.A., No. CIV S–11–1786–KJM–CMK, 2011
      WL 5838365, at *2–3 (E.D. Calif. Nov. 21, 2011) (notice of default
      and institution of foreclosure proceedings does not violate the
      discharge). Therefore, the Court finds that this is not an act to collect
      a debt as a personal liability of Plaintiff, and not a violation of the
      discharge injunction.

Bibolotti v. American Home Mortgage Servicing, Inc., 2013 WL 2147949 (E.D.

Tex. 2013)(emp. added).



                                          15
    Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 23 of 27




       Courts have certainly recognized the propriety of certain post-discharge

communications as might be necessary under applicable state law to allow a

lienholder to enforce its in rem rights and, generally speaking, “merely maintaining

... a lien against a property, without additional coercive attempts to collect the debt

as a personal liability, does not violate the discharge injunction.” In re Schinabeck,

2014 WL 5325781 (Bankr. E.D. Tex. 2014).7

       Codilis & Stawiarski’s communications to Appellant, post-discharge, are the

type of communications that are specifically authorized by 11 U.S. C. 524(j).

Given the foregoing, Appellant failed to establish by clear and convincing

evidence that the law firm violated the discharge order. As such, it was not an

abuse of discretion for the Bankruptcy Court to deny Appellant’s Motion for

Contempt.



7
  Appellant’s counsel even tacitly conceded that the communications sent by the attorney
appellees (including Codilis & Stawiarski) would only violate the discharge injunction if Chase’s
lien interest in the Property were invalid. As Appellant’s flawed logic goes, the recording of the
assignment of the deed of trust into Chase, after Appellant’s original bankruptcy was filed, was
done in violation of the bankruptcy stay and therefore ineffective. (ROA. 861, lines 6-7).
Continuing down Appellant’s rabbit trail, if the assignment into Chase is defective, then it
follows that the actions of Codilis & Stawiarski, post-discharge in assisting to foreclose the deed
of trust were in violation of the discharge order. (ROA. 862, lines 12-18).

        The bankruptcy court quickly pointed out that an assignment of a lien between two
creditors does not violate the automatic stay. (ROA. 861, lines 8-14). The black letter law relied
upon by the bankruptcy court is straightforward. The post-petition recordation of an assignment
of a deed of trust does not violate the automatic stay “because it does not involve a transfer of
property of the debtor.” In re Mullin, 433 B.R. 1, 16-17 (Bankr. S.D. Tex. 2010) citing In re
Cook, 457 F.3d 561, 567 (6th Cir. 2006); Kapila v. Atlantic Mortgage & Investment Corp., 184
F.3d 1335, 1337 (11th Cir. 1999); In re Canellas, 2010 WL 571808, *4 (Bankr. M.D. Fla. 2010).


                                                16
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 24 of 27




ISSUE NO. 3:       DID THE BANKRUPTCY COURT ABUSE ITS
                   DISCRETION IN DENYING APPELLANT'S MOTION
                   TO REOPEN GIVEN THAT THE BASIS OF
                   APPELLANT'S   MOTION   TO   REOPEN  WAS
                   DETERMINED TO BE WITHOUT MERIT?


      Section 350 of the Bankruptcy Code allows a bankruptcy court to reopen a

closed case to administer assets, to accord relief to the debtor, or for other cause.

11 U.S.C. § 350(b). Merely granting a motion to reopen does not afford the parties

any substantive relief, but rather provides the opportunity to request further relief.

Ordinarily, for a court to grant a motion to reopen, the moving party must

demonstrate that there is a compelling cause. Reid v. Richardson, 304 F.2d 351,

355 (4th Cir. 1962); Horizon Aviation of Virginia, Inc. v. Alexander (In re

Alexander), 296 B.R. 380, 382 (E.D.Va.2003). See also In re Parson, 2007 WL

3306678 (Bankr.E.D.Va.2007) at *7.

      The reason advanced by Appellant for reopening the Bankruptcy Case was

so that Appellant could pursue her Motion for Contempt. Appellant has not timely

appealed the order denying her Motion for Contempt and that order is now final for

all purposes. This Court is now without jurisdiction to entertain the denial of

Appellant’s Motion for Contempt as Appellant’s failure to timely file a notice of

appeal deprives the district court of jurisdiction of the appeal. In re Berman-Smith,

737 F.3d 997, 1003 (5th Cir. 2013) .




                                         17
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 25 of 27




      Even setting aside the jurisdictional issue identified above and addressing

the merits, Appellant’s Motion to Reopen was properly denied as there was no

compelling cause to reopen the case.            After the Bankruptcy Court properly

concluded that Appellant’s contempt claims were without merit, there existed no

basis or reason for the re-opening of the case. It is widely recognized that, if

reopening the case would be a futile act because the objective cannot be achieved,

generally, the case should not be reopened. In re Locklair, 2006 WL 1491440

(Bankr. M.D.N.C. 2006).       It would have been clearly futile to reopen this

Bankruptcy Case to allow Appellant to bring unmeritorious claims for contempt,

when the actions complained of are specifically permitted by statute. Accordingly,

denial of the Motion to Reopen on the basis of futility was within the broad

discretion of the Bankruptcy Court, and the sound decision of the Bankruptcy

Court should not be disturbed on appeal.

                         CONCLUSION AND PRAYER

      For the foregoing reasons, Appellee, Codilis & Stawiarski, P.C. respectfully

requests the Court affirm the decision of the Bankruptcy Court and the Order

Denying the Motion to Alter or Amend, as well as Appellant’s Amended Motion to

Reopen and Motion for Contempt should the Court determine that it has

jurisdiction to consider such motions.




                                           18
Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 26 of 27




                                Respectfully Submitted,


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                                  19
   Case 4:17-cv-03549 Document 18 Filed on 02/12/18 in TXSD Page 27 of 27




                        CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February, 2018 a true and correct
copy of the foregoing Brief has been filed with the Clerk of the Clerk using the
CM/ECF filing system who will forward a copy of same to the following CM/ECF
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                                       20
